                          Case 22-13186-abl                Doc 1       Entered 09/02/22 18:05:11                   Page 1 of 36


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Newton Construction LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3465 W. Lake Mead Blvd.
                                  North Las Vegas, NV 89032
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 22-13186-abl                  Doc 1         Entered 09/02/22 18:05:11                       Page 2 of 36
Debtor    Newton Construction LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 22-13186-abl                      Doc 1        Entered 09/02/22 18:05:11                     Page 3 of 36
Debtor    Newton Construction LLC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                     Case 22-13186-abl                Doc 1   Entered 09/02/22 18:05:11                  Page 4 of 36
Debtor   Newton Construction LLC                                                     Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                         Case 22-13186-abl                 Doc 1        Entered 09/02/22 18:05:11                      Page 5 of 36
Debtor    Newton Construction LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 2, 2022
                                                  MM / DD / YYYY


                             X   /s/ John Newton                                                          John Newton
                                 Signature of authorized representative of debtor                         Printed name

                                 Title




18. Signature of attorney    X   /s/ Corey B. Beck, Esq. Bar No.                                           Date September 2, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Corey B. Beck, Esq. Bar No. 5870
                                 Printed name

                                 Corey B. Beck, Esq.
                                 Firm name

                                 425 South Sixth Street
                                 Las Vegas, NV 89101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     702-678-1999                  Email address      becksbk@yahoo.com

                                 Bar No. 5870 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                       Case 22-13186-abl                Doc 1         Entered 09/02/22 18:05:11                  Page 6 of 36




Fill in this information to identify the case:

Debtor name         Newton Construction LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 2, 2022               X /s/ John Newton
                                                           Signature of individual signing on behalf of debtor

                                                            John Newton
                                                            Printed name


                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                          Case 22-13186-abl                Doc 1         Entered 09/02/22 18:05:11                          Page 7 of 36


 Fill in this information to identify the case:
 Debtor name Newton Construction LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                  Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Business Debt             Unliquidated                                                                    $104,794.00
 PO Box 105525                                                                 Disputed
 Los Angeles, CA
 90096
 Chase Ink                                           Business Debt             Unliquidated                                                                      $28,732.27
 PO Box 6294                                                                   Disputed
 Carol Stream, IL
 60197
 Chase Ink                                           Business Debt             Unliquidated                                                                      $16,863.00
 PO Box 6294                                                                   Disputed
 Carol Stream, IL
 60197
 ENOD Capital                                        Business Debt             Unliquidated                                                                      $44,000.00
 1202 Avenue U Ste                                                             Disputed
 115
 Brooklyn, NY 11229
 Fox Trot Electric                                   Business Debt             Unliquidated                                                                      $19,000.00
 5175 W. Diablo Ste                                                            Disputed
 106
 Las Vegas, NV 89118
 FundWorks                                           Business Debt             Unliquidated                                                                      $70,000.00
 5990 Sepuleda Blvd.                                                           Disputed
 #310
 Van Nuys, CA 91411
 Internal Revenue                                    Taxes Owed                                                                                                  $38,000.00
 Service
 Stop 5028
 110 City Parkway
 Las Vegas, NV
 89106-4604
 Mulligan Funding LLC                                Business Debt             Unliquidated                                                                      $44,954.40
 4715 View Ridge Ave.                                                          Disputed
 Suite 100
 San Diego, CA 92123
 Mulligan Funding LLC                                Business Debt             Unliquidated                                                                      $21,558.70
 4715 View Ridge Ave                                                           Disputed
 Suite 100
 San Diego, CA 92123

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                          Case 22-13186-abl                Doc 1         Entered 09/02/22 18:05:11                          Page 8 of 36



 Debtor    Newton Construction LLC                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 NewCo Capital Group                                 Business Debt             Unliquidated                                                                      $30,000.00
 90 Broad Street                                                               Disputed
 New York, NY 10004
 Pinnacle Business                                   Business Debt             Unliquidated                                                                      $30,000.00
 Funding LLC                                                                   Disputed
 1777 Reistertown
 Road Suite 390
 Pikesville, MD 21208
 Protrade Credit                                     Business Debt             Unliquidated                                                                      $19,212.81
 Services                                                                      Disputed
 PO Box 105525
 Atlanta, GA 30348




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                             Case 22-13186-abl                                 Doc 1               Entered 09/02/22 18:05:11                                          Page 9 of 36

Fill in this information to identify the case:

Debtor name           Newton Construction LLC

United States Bankruptcy Court for the:                      DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           198,693.63

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           198,693.63


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           228,514.13


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           467,115.18


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $             695,629.31




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
                        Case 22-13186-abl              Doc 1        Entered 09/02/22 18:05:11                       Page 10 of 36

Fill in this information to identify the case:

Debtor name          Newton Construction LLC

United States Bankruptcy Court for the:      DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest
2.         Cash on hand                                                                                                                                  $20.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    JP Morgan Chase Bank
                    7204 W. Craig R.
           3.1.     Las Vegas, NV 89129                               Checking and Savings                  0559                                     $2,974.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                      $2,994.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


Part 4:           Investments
13. Does the debtor own any investments?


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                         page 1
                     Case 22-13186-abl                 Doc 1         Entered 09/02/22 18:05:11                 Page 11 of 36

Debtor       Newton Construction LLC                                                        Case number (If known)
             Name


      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          2 Desks and 2 refridgerators                                                    $0.00                                          $600.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          2 desk top computers, 1 printer,                                                $0.00                                          $400.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $1,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 2
                         Case 22-13186-abl             Doc 1        Entered 09/02/22 18:05:11                 Page 12 of 36

Debtor         Newton Construction LLC                                                     Case number (If known)
               Name

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.      2021 Ford F550                                                     $0.00                                    $57,097.13


           47.2.      2004 Ford F450                                                     $0.00                                     $6,000.00


           47.3.      2003 Chevrolet TCB                                                 $0.00                                     $2,685.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           various carpentry tools                                                       $0.00                                    $10,000.00


           Forklift                                                                      $0.00                                     $5,000.00


           CNC Computerized Neumatic Control (Router)                                    $0.00                                   $59,445.00


           Edgebander                                                                    $0.00                                   $54,472.50



51.        Total of Part 8.                                                                                                   $194,699.63
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below. TO BE SUPPLEMENTED


Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                  page 3
                           Case 22-13186-abl                          Doc 1           Entered 09/02/22 18:05:11                              Page 13 of 36

Debtor          Newton Construction LLC                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $2,994.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $194,699.63

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $198,693.63           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $198,693.63




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
                         Case 22-13186-abl                    Doc 1          Entered 09/02/22 18:05:11                  Page 14 of 36

Fill in this information to identify the case:

Debtor name         Newton Construction LLC

United States Bankruptcy Court for the:           DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally                                         Describe debtor's property that is subject to a lien                   $57,097.13                $57,097.13
      Creditor's Name                              2021 Ford F550
      PO Box 380902
      Minneapolis, MN 55438
      Creditor's mailing address                   Describe the lien
                                                   Auto Loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2021                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4969
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative
      priority.                                       Disputed




2.2   Balboa Capital                               Describe debtor's property that is subject to a lien                   $59,445.00                $59,445.00
      Creditor's Name                              CNC Computerized Neumatic Control (Router)
      575 Anton Blvd 12th Floor
      Costa Mesa, CA 92626
      Creditor's mailing address                   Describe the lien
                                                   Other
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      1/14/2021                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0000
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
                         Case 22-13186-abl                   Doc 1          Entered 09/02/22 18:05:11                      Page 15 of 36

Debtor      Newton Construction LLC                                                               Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
                                                     Disputed
      priority.



2.3   Envision Capital Group                      Describe debtor's property that is subject to a lien                       $2,500.00      $5,000.00
      Creditor's Name                             Forklift
      23422 Mill Creek Drive Suite
      200
      Laguna Hills, CA 92653
      Creditor's mailing address                  Describe the lien
                                                  Other
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6-1-2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1C01
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.4   Kalamata Capital Group, LLC                 Describe debtor's property that is subject to a lien                      $55,000.00         $0.00
      Creditor's Name

      80 Broad St. Suite 1210
      New York, NY 10004
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5-10-22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0257
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
                                                     Disputed
      priority.



2.5   Pawnee Leasing Corporation                  Describe debtor's property that is subject to a lien                      $54,472.00     $54,472.50
      Creditor's Name                             Edgebander
      3801 Automation Way #207
      Fort Collins, CO 80525
      Creditor's mailing address                  Describe the lien
                                                  Other
                                                  Is the creditor an insider or related party?
                                                     No


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 3
                         Case 22-13186-abl                   Doc 1          Entered 09/02/22 18:05:11                      Page 16 of 36

Debtor      Newton Construction LLC                                                               Case number (if known)
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/28/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8796
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
                                                     Disputed
      priority.



3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $228,514.13

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
                        Case 22-13186-abl                    Doc 1         Entered 09/02/22 18:05:11                             Page 17 of 36

Fill in this information to identify the case:

Debtor name        Newton Construction LLC

United States Bankruptcy Court for the:         DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $104,794.00
          American Express                                                     Contingent
          PO Box 105525                                                        Unliquidated
          Los Angeles, CA 90096
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Business Debt
          Last 4 digits of account number    1003
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $16,863.00
          Chase Ink                                                            Contingent
          PO Box 6294                                                          Unliquidated
          Carol Stream, IL 60197
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Business Debt
          Last 4 digits of account number    9754
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $28,732.27
          Chase Ink                                                            Contingent
          PO Box 6294                                                          Unliquidated
          Carol Stream, IL 60197
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Business Debt
          Last 4 digits of account number    1988
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $44,000.00
          ENOD Capital                                                         Contingent
          1202 Avenue U Ste 115                                                Unliquidated
          Brooklyn, NY 11229
                                                                               Disputed
          Date(s) debt was incurred 8/15/22
                                                                            Basis for the claim:    Business Debt
          Last 4 digits of account number 0257
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          30401
                        Case 22-13186-abl              Doc 1       Entered 09/02/22 18:05:11                            Page 18 of 36

Debtor      Newton Construction LLC                                                         Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $19,000.00
         Fox Trot Electric                                            Contingent
         5175 W. Diablo Ste 106                                       Unliquidated
         Las Vegas, NV 89118
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number   0257
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $70,000.00
         FundWorks                                                    Contingent
         5990 Sepuleda Blvd. #310                                     Unliquidated
         Van Nuys, CA 91411
                                                                      Disputed
         Date(s) debt was incurred 4/6/22
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number 0257
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $38,000.00
         Internal Revenue Service                                     Contingent
         Stop 5028                                                    Unliquidated
         110 City Parkway                                             Disputed
         Las Vegas, NV 89106-4604
                                                                   Basis for the claim:    Taxes Owed
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $44,954.40
         Mulligan Funding LLC                                         Contingent
         4715 View Ridge Ave. Suite 100                               Unliquidated
         San Diego, CA 92123
                                                                      Disputed
         Date(s) debt was incurred 1/21/22
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number 0257
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $21,558.70
         Mulligan Funding LLC                                         Contingent
         4715 View Ridge Ave Suite 100                                Unliquidated
         San Diego, CA 92123
                                                                      Disputed
         Date(s) debt was incurred 2/1/22
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number 0257
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,000.00
         NewCo Capital Group                                          Contingent
         90 Broad Street                                              Unliquidated
         New York, NY 10004
                                                                      Disputed
         Date(s) debt was incurred  5/24/2022
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number 0257
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $30,000.00
         Pinnacle Business Funding LLC                                Contingent
         1777 Reistertown Road Suite 390                              Unliquidated
         Pikesville, MD 21208
                                                                      Disputed
         Date(s) debt was incurred 6/13/22
                                                                   Basis for the claim:    Business Debt
         Last 4 digits of account number 0257
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 3
                        Case 22-13186-abl                   Doc 1         Entered 09/02/22 18:05:11                             Page 19 of 36

Debtor       Newton Construction LLC                                                                Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $19,212.81
          Protrade Credit Services                                            Contingent
          PO Box 105525                                                        Unliquidated
          Atlanta, GA 30348
                                                                               Disputed
          Date(s) debt was incurred 8/29/21
                                                                           Basis for the claim:    Business Debt
          Last 4 digits of account number 6544
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       467,115.18

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          467,115.18




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
                      Case 22-13186-abl                Doc 1         Entered 09/02/22 18:05:11                    Page 20 of 36

Fill in this information to identify the case:

Debtor name       Newton Construction LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            3465 W. Lake Mead
           lease is for and the nature of        Blvd.
           the debtor's interest                 North Las Vegas, NV
                                                 89032
               State the term remaining          7 months
                                                                                    J&SH Family LP
           List the contract number of any                                          6120 S. Torrey Pines Drive
                 government contract                                                Las Vegas, NV 89118


2.2.       State what the contract or            3415 West Lake Mead
           lease is for and the nature of        Blvd. Unit 110 North Las
           the debtor's interest                 Vegas, NV 89032

               State the term remaining          11 months
                                                                                    Min Yu
           List the contract number of any                                          8512 Crest Hill Ave
                 government contract                                                Las Vegas, NV 89145


2.3.       State what the contract or            HP Copier
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    U.S. Bank Equipment Finance
           List the contract number of any                                          13010 SW 68th Pkwy #100
                 government contract                                                Portland, OR 97223




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
                     Case 22-13186-abl               Doc 1       Entered 09/02/22 18:05:11                    Page 21 of 36

Fill in this information to identify the case:

Debtor name      Newton Construction LLC

United States Bankruptcy Court for the:   DISTRICT OF NEVADA

Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors? TO BE SUPPLEMENTED

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                             Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                            D
                                      Street                                                                                      E/F
                                                                                                                                  G

                                      City                   State         Zip Code


   2.2                                                                                                                            D
                                      Street                                                                                      E/F
                                                                                                                                  G

                                      City                   State         Zip Code


   2.3                                                                                                                            D
                                      Street                                                                                      E/F
                                                                                                                                  G

                                      City                   State         Zip Code


   2.4                                                                                                                            D
                                      Street                                                                                      E/F
                                                                                                                                  G

                                      City                   State         Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
                       Case 22-13186-abl              Doc 1         Entered 09/02/22 18:05:11                         Page 22 of 36




Fill in this information to identify the case:

Debtor name         Newton Construction LLC

United States Bankruptcy Court for the:    DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:      Income

1. Gross revenue from business TO BE SUPPLEMENTED

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                           Gross revenue
      which may be a calendar year                                                    Check all that apply                         (before deductions and
                                                                                                                                   exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue            Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None. ** TO BE SUPPLEMENTED

      Creditor's Name and Address                                 Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
             FundWorks                                            6-4-22                           $45,000.00             Secured debt
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other

      3.2.
             Pinnacle Business Funding LLC                        6-4-22                           $34,920.00             Secured debt
             1777 Reistertown Road Suite 390                                                                              Unsecured loan repayments
             Pikesville, MD 21208                                                                                         Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
                      Case 22-13186-abl                 Doc 1        Entered 09/02/22 18:05:11                         Page 23 of 36
Debtor       Newton Construction LLC                                                            Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.3.
              NewCo Capital Group                                  6-4-22                           $28,800.00                Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other

      3.4.
              Kalamata Capital Group, LLC                          6-4-22                           $29,820.00                Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other

      3.5.
              Mulligan Funding                                     6-4-22                           $33,200.00                Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other

      3.6.
              Mulligan Funding                                     6-4-22                           $13,328.00                Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
                       Case 22-13186-abl               Doc 1        Entered 09/02/22 18:05:11                         Page 24 of 36
Debtor        Newton Construction LLC                                                            Case number (if known)




          None.

               Case title                             Nature of case               Court or agency's name and                 Status of case
               Case number                                                         address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address           Description of the gifts or contributions                  Dates given                            Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates                    Total amount or
                the transfer?                                                                                                                           value
                Address
      11.1.     Corey B. Beck, Esq
                425 South Sixth Street                                                                                August 29,
                Las Vegas, NV 89101                                                                                   2022                        $11,738.00

                Email or website address
                becklegal@yahoo.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
                       Case 22-13186-abl                 Doc 1         Entered 09/02/22 18:05:11                         Page 25 of 36
Debtor       Newton Construction LLC                                                              Case number (if known)



      Name of trust or device                              Describe any property transferred                    Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None. TO BE SUPPLEMENTED

              Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
              Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

               Address                                                                                               Dates of occupancy
                                                                                                                     From-To

Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services               If debtor provides meals
                                                        the debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
               Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                                moved, or                           transfer
                                                                                                                transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.
Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
                      Case 22-13186-abl                  Doc 1        Entered 09/02/22 18:05:11                         Page 26 of 36
Debtor      Newton Construction LLC                                                              Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
                       Case 22-13186-abl                Doc 1        Entered 09/02/22 18:05:11                         Page 27 of 36
Debtor      Newton Construction LLC                                                             Case number (if known)



    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

               None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Swan and Gardiner
                    9005 W. Sahara Ave.
                    Las Vegas, NV 89117

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

               None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                    % of interest, if
                                                                                                  interest                                      any
      John Newton                             3465 W. Lake Mead Blvd.                             President                                     100 %
                                              North Las Vegas, NV 89032



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 6
                      Case 22-13186-abl              Doc 1         Entered 09/02/22 18:05:11                         Page 28 of 36
Debtor      Newton Construction LLC                                                           Case number (if known)



    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient          Amount of money or description and value of                Dates             Reason for
                                                    property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                    Employer Identification number of the parent
                                                                                                     corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                          Employer Identification number of the pension
                                                                                                     fund




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
                      Case 22-13186-abl                 Doc 1        Entered 09/02/22 18:05:11                         Page 29 of 36
Debtor      Newton Construction LLC                                                             Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 2, 2022

/s/ John Newton                                                 John Newton
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
                        Case 22-13186-abl                  Doc 1      Entered 09/02/22 18:05:11                   Page 30 of 36
B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                                     District of Nevada
 In re       Newton Construction LLC                                                                          Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 2, 2022                                                        /s/ Corey B. Beck, Esq. Bar No.
     Date                                                                     Corey B. Beck, Esq. Bar No. 5870
                                                                              Signature of Attorney
                                                                              Corey B. Beck, Esq.
                                                                              425 South Sixth Street
                                                                              Las Vegas, NV 89101
                                                                              702-678-1999 Fax: 702-678-6788
                                                                              becksbk@yahoo.com
                                                                              Name of law firm
                     Case 22-13186-abl                   Doc 1         Entered 09/02/22 18:05:11                       Page 31 of 36

                                                      United States Bankruptcy Court
                                                                     District of Nevada
 In re    Newton Construction LLC                                                                                 Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
John Newton                                                 Membership            100%                                       Member
9170 W. La Madre Way
Las Vegas, NV 89149


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 2, 2022                                                   Signature /s/ John Newton
                                                                                        John Newton

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                   Case 22-13186-abl              Doc 1      Entered 09/02/22 18:05:11                Page 32 of 36




                                               United States Bankruptcy Court
                                                            District of Nevada
 In re   Newton Construction LLC                                                                  Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the best

of my knowledge.




Date:     September 2, 2022                              /s/ John Newton
                                                         John Newton/
                                                         Signer/Title

Date: September 2, 2022                                  /s/ Corey B. Beck, Esq. Bar No.
                                                         Signature of Attorney
                                                         Corey B. Beck, Esq. Bar No. 5870
                                                         Corey B. Beck, Esq.
                                                         425 South Sixth Street
                                                         Las Vegas, NV 89101
                                                         702-678-1999 Fax: 702-678-6788
    Case 22-13186-abl   Doc 1     Entered 09/02/22 18:05:11   Page 33 of 36



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                    Newton Construction LLC
                    3465 W. Lake Mead Blvd.
                    North Las Vegas, NV 89032

                    Corey B. Beck, Esq. Bar No.
                    Corey B. Beck, Esq.
                    425 South Sixth Street
                    Las Vegas, NV 89101

                    Department of Justice
                    Office of the U.S. Trustee
                    600 Las Vegas Blvd.
                    Las Vegas, NV 89101-0250

                    Department of Motor Vehicles
                    Records Section
                    555 Wright Way
                    Carson City, NV 89711-0250

                    Internal Revenue Service
                    Stop 5028
                    110 City Parkway
                    Las Vegas, NV 89106-4604

                    Nevada Department of Taxation
                    555 E. Washington Avenue
                    Suite 1300
                    Bankruptcy Section
                    Las Vegas, NV 89101-1046

                    Nevada Labor Commissioner
                    3300 W. Sahara Ave Ste. 225
                    Las Vegas, NV 89102

                    Ally
                    Acct No 228064384969
                    PO Box 380902
                    Minneapolis, MN 55438

                    American Express
                    Acct No 4-31003
                    PO Box 105525
                    Los Angeles, CA 90096

                    Balboa Capital
                    Acct No 347390-000
                    575 Anton Blvd 12th Floor
                    Costa Mesa, CA 92626

                    Chase Ink
                    Acct No xxxx-xxxx-xxxx-9754
                    PO Box 6294
                    Carol Stream, IL 60197
Case 22-13186-abl   Doc 1    Entered 09/02/22 18:05:11   Page 34 of 36




                Chase Ink
                Acct No xxxx-xxxx-xxxx-1988
                PO Box 6294
                Carol Stream, IL 60197

                ENOD Capital
                Acct No XX-XXXXXXX
                1202 Avenue U Ste 115
                Brooklyn, NY 11229

                Envision Capital Group
                Acct No D61020SK1-C01
                23422 Mill Creek Drive Suite 200
                Laguna Hills, CA 92653

                Fox Trot Electric
                Acct No XX-XXXXXXX
                5175 W. Diablo Ste 106
                Las Vegas, NV 89118

                FundWorks
                Acct No XX-XXXXXXX
                5990 Sepuleda Blvd. #310
                Van Nuys, CA 91411

                J&SH Family LP
                6120 S. Torrey Pines Drive
                Las Vegas, NV 89118

                Kalamata Capital Group, LLC
                Acct No XX-XXXXXXX
                80 Broad St. Suite 1210
                New York, NY 10004

                Min Yu
                8512 Crest Hill Ave
                Las Vegas, NV 89145

                Mulligan Funding LLC
                Acct No XX-XXXXXXX
                4715 View Ridge Ave. Suite 100
                San Diego, CA 92123

                NewCo Capital Group
                Acct No XX-XXXXXXX
                90 Broad Street
                New York, NY 10004

                Pawnee Leasing Corporation
                Acct No 378796
                3801 Automation Way #207
                Fort Collins, CO 80525
Case 22-13186-abl   Doc 1     Entered 09/02/22 18:05:11   Page 35 of 36




                Pinnacle Business Funding LLC
                Acct No XX-XXXXXXX
                1777 Reistertown Road Suite 390
                Pikesville, MD 21208

                Protrade Credit Services
                Acct No 66544
                PO Box 105525
                Atlanta, GA 30348

                U.S. Bank Equipment Finance
                13010 SW 68th Pkwy #100
                Portland, OR 97223
                 Case 22-13186-abl         Doc 1     Entered 09/02/22 18:05:11          Page 36 of 36




                                         United States Bankruptcy Court
                                                   District of Nevada
 In re   Newton Construction LLC                                                    Case No.
                                                            Debtor(s)               Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Newton Construction LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
John Newton
9170 W. La Madre Way
Las Vegas, NV 89149




  None [Check if applicable]




September 2, 2022                              /s/ Corey B. Beck, Esq. Bar No.
Date                                           Corey B. Beck, Esq. Bar No. 5870
                                               Signature of Attorney or Litigant
                                               Counsel for Newton Construction LLC
                                               Corey B. Beck, Esq.
                                               425 South Sixth Street
                                               Las Vegas, NV 89101
                                               702-678-1999 Fax:702-678-6788
                                               becksbk@yahoo.com
